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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN


  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

         Counter-Defendant,

  v.

  CIRCUITRONIX, LLC,

        Counter-Plaintiff,
  ____________________________________/

                 CIRCUITRONIX, LLC’S SUPPLEMENTAL MEMORANDUM
                     REGARDING TESTIMONY OF AKSHAY KOUL

         Pursuant to this Court’s Paperless Order (ECF No. 250), Counter-Plaintiff Circuitronix,

  LLC (“CTX-US”) files this supplemental memorandum explaining why almost all of the

  testimony of Akshay Koul which Benlida has designated to read at trial is not relevant given the

  Court’s pretrial rulings.

         Akshay Koul is the General Manager at non-party, Circuitronix (Hong Kong) Ltd.

  (“CTX-HK”). In that role, he supervises sales and operations for CTX-HK. He does not handle

  sales for CTX. When the Court entered its Order Granting Summary Judgment (ECF No.

  221)—which “grant[ed] summary judgment in Circuitronix’s favor as to the invoices identified

  in the complaint which the parties agree were all issued to CTX-HK,” id. at 9—Mr. Koul’s

  testimony became almost entirely irrelevant to the case that remained: CTX-US’s counterclaims.

  Indeed, CTX-US advised, when filing its amended witness list following the summary-judgment

  ruling, that it would have dropped Mr. Koul from its witness list altogether “if Benlida had not

  announced, after the summary-judgment ruling, an intention to rely on an unpled affirmative




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  defense seeking to set-off moneys owed to CTX against debts owed by CTX-HK.” ECF No.

  225-2 at 1 n.1.

         Then the Court granted CTX’s Omnibus Motion in Limine by ruling that “Benlida is

  precluded from presenting evidence of CTX-HK’s debts or Circuitronix’s responsibility

  therefor.” ECF No. 237 at 1, § 2. That ruling made clear that these subjects are not relevant to

  the issues to be tried. Consequently, CTX-US determined there was no longer any need to call

  Mr. Koul as a live witness and certified that it would not be calling him. Benlida used that

  certification as an opportunity to submit, for the first time, deposition designations of Mr. Koul

  to be played at trial. See ECF No. 239 at 8-13 (A. Koul deposition designations); ECF No. 242

  (supplemental deposition designations for Akshay Koul).

         With few exceptions, the deposition testimony designated by Benlida touches on subjects

  foreclosed by this Court’s Omnibus Order, or is otherwise irrelevant. CTX-US noted as much in

  its objections to the designations. See, e.g., ECF No. 239 at 9 (objecting that designated

  testimony about CTX-HK’s sales department and sales “are not probative of any issue in the case

  and veers into testimony foreclosed by Omnibus Order (ECF No. 237, # 2) regarding exclusion

  of debts CTX-HK allegedly owes Benlida”). Even where designated testimony does not directly

  reference CTX-HK or its sales, it is wholly irrelevant to the issues in this case—as with

  testimony regarding Mr. Koul’s personal relationship with CTX-US CEO, Rishi Kukreja (id. at

  8), or Mr. Koul’s responsibility over certain operations in Shenzhen, China (id. at 9).

         The only portions of the designated testimony that could arguably be relevant to CTX’s

  counterclaim are those that relate to the aspect of CTX-US’s operation that involves its use of a

  warehouse in Hong Kong owned by CTX-HK, or third-party warehouse, to receive Benlida’s

  products and from which products are shipped to CTX-US’s customers. A small aspect of that




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  warehouse operation is relevant to CTX-US’s counterclaim involving a breach of the contractual

  provisions concerning lead-time penalties (monies CTX-US was entitled to deduct from the

  amount it owed to Benlida, which Benlida disputes, and which affect the amount of money CTX-

  US has overpaid and seeks as damages). Specifically, the narrow aspect of the Hong Kong

  warehouses that is relevant to CTX-US’s claim is how CTX-US tracks the data about the date

  Benlida’s products are received at the warehouse. Benlida, for its part, has never articulated any

  defense to CTX-US’s counterclaims that broadens the zone of relevance of testimony about the

  operation of the warehouses in Hong Kong, so it is doubtful that even this testimony is relevant.

            Against that narrow background, and the relevance boundaries drawn by the Court’s

  prior orders, virtually all of Benlida’s designations of Mr. Koul’s deposition testimony are

  irrelevant, for the reasons stated here as well as in CTX-US’s objections to the designations. See

  ECF No. 239 at 8-13. To assist the Court, CTX-US believes that the following designations

  (copied and pasted from ECF No. 239) are the only ones that are arguably relevant (irrespective

  of the other bases for objection CTX-US previously raised):

        Page(s) and        Party
                                           Objections/Cross-Designation              Ruling
          line(s)         Objecting

                                        Designation should include Mr.
         21:19-25            CTX        Koul’s response to the question at
                                        22:1-2.

                                        Designation should include 49:3-
          51:1-8             CTX        50:25 and 51:9-11 for completeness.

                                        Designation should also include 49:3-
       71:19-73:18 1         CTX        50:25 and 51:9-11 for completeness.

                                        FRE 401 (relevance as to 114:10-11,
                                        identification of an exhibit regarding
      113:24-114:11          CTX        which Benlida does not designate any
                                        testimony).

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      This was Benlida’s supplemental designation filed in ECF No. 242.



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                                       Designation should include 126:5-
       127:1-10             CTX        127:1 for completeness.


         DATED October 12, 2023

                                                      Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission

  of Notices of Electronic Filing generated by CM/ECF on October 12, 2023 as filed with the Clerk of

  the Court using CM/ECF.


                                                      By: /s/ Stephen F. Rosenthal        .
                                                             Stephen F. Rosenthal




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